Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20492   Page 1 of 40
                                                                              1



    1                       UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
    2                             SOUTHERN DIVISION
    3
    4     UNITED STATES OF AMERICA,
    5                      Government,
                                                  HONORABLE GEORGE CARAM STEEH
    6           v.
                                                  No. 15-20652
    7     D-4 COREY BAILEY,
          D-6 ROBERT BROWN,
    8     D-13 ARLANDIS SHY,
          D-19 KEITHON PORTER,
    9
                         Defendants.
   10     _____________________________/
                                 MOTION HEARING
   11
                              Wednesday, April 17, 2018
   12
                                       -    -    -
   13
          APPEARANCES:
   14
          For the Government:                   MARK BILKOVIC, ESQ.
   15                                           TARE WIGOD, ESQ.
                                                Assistant U.S. Attorneys
   16
   17     For the Defendants:                   CRAIG DALY, ESQ
                                                On behalf of Corey Bailey
   18
                                                JAMES FEINBERG, ESQ.
   19                                           On behalf of Robert Brown
   20                                           MARK MAGIDSON, ESQ.
                                                On behalf of Arlandis Shy
   21
                                                STEVEN SCHARG, ESQ.
   22                                           On behalf of Keithon Porter
   23
   24                                  -    -    -
   25                To Obtain Certified Transcript, Contact:
                 Ronald A. DiBartolomeo, Official Court Reporter
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20493   Page 2 of 40
                                                                              2



    1                 Theodore Levin United States Courthouse
                      231 West Lafayette Boulevard, Room 1067
    2                        Detroit, Michigan 48226
                                   (313) 962-1234
    3
                 Proceedings recorded by mechanical stenography.
    4         Transcript produced by computer-aided transcription.
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19    PageID.20494   Page 3 of 40
                                                                               3



    1                                 I   N   D   E   X
    2     _________________________________________________________Page
    3     Motion hearing                                                           3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14                             E   X   H   B   I   T   S
   15     Identification__________________________Offered                Received
   16
   17                             N       O       N       E
   18
   19
   20
   21
   22
   23
   24
   25


                        15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19       PageID.20495   Page 4 of 40
                                                                                  4



    1                                         Detroit, Michigan
    2                                         Wednesday, April 17, 2019
    3
    4                                   -     -      -
    5                      THE CLERK:       Case Number 15-2O652, United
    6       States of America versus Corey Bailey, Robert Brown,
    7       Arlandis Shy and Keithon Porter.
    8                      THE COURT:       Good morning.      Would you like
    9       state your appearances, Mr. Bilkovic?
   10                      MR. BILKOVIC:      Good afternoon.        Mark Bilkovic
   11       and Tare Wigod on behalf of the United States.
   12                      THE COURT:       Welcome.
   13                      MR. S. SCHARG:         Good afternoon, your Honor.
   14       Steven Scharg on behalf of Mr. Porter.
   15                      THE COURT:       Welcome.
   16                      MR. FEINBERG:      James L. Feinberg, attorney
   17       for Mr. Brown, who apparently isn't here yet.
   18                      THE COURT:       Right.       Thank you, Mr. Feinberg.
   19                      MR. DALY:    Good afternoon, your Honor.            Craig
   20       Daly on behalf of Corey Bailey.
   21                      THE COURT:       Welcome.
   22                      MR. MAGIDSON:      Good afternoon, your Honor.
   23       Mark Magidson on behalf of Mr. Shy who stands to my right.
   24                      THE COURT:       Good afternoon.       As it relates to
   25       Mr. Brown who is represented by Mr. Feinberg, we've been


                        15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20496   Page 5 of 40
                                                                               5



    1       advised that the -- that he is still in transit.            He might
    2       be expected to arrive in a half hour was the last word.
    3                Mr. Feinberg has indicated that he's going to be
    4       joining in the arguments made by other counsel, and we'll
    5       give you the opportunity to speak on the issue if you
    6       would like once your client gets here, but rather than to
    7       keep everybody waiting while we wait for delivery of Mr.
    8       Brown to this proceeding, I think we should go ahead,
    9       especially in the light of the fact that for the most part
   10       going to just join the argument made by co-counsel, is
   11       that agreeable, Mr. Feinberg?
   12                      MR. FEINBERG:     I'm not sure I'm in the
   13       position to waive my client's presence, your Honor.            I
   14       know he was in Dickerson, which isn't a half hour away.
   15       So if he's in transit, he should only be minutes away.
   16                      THE COURT:    He's coming from where?
   17                      MR. FEINBERG:     Dickerson.
   18                      THE COURT:    He was in Milan.
   19                      MR. FEINBERG:     He was in Dickerson yesterday.
   20                      THE MARSHAL:     Milan.
   21                      MR. FEINBERG:     I don't know why he would have
   22       been separated, but I'm not position to waive his
   23       presence, your Honor.
   24                      THE COURT:    Well, you will be given the
   25       opportunity to make any and all arguments that you wish


                        15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20497   Page 6 of 40
                                                                              6



    1       once he gets here.
    2                 In the meantime, we'll address the remaining
    3       defendants and their counsel so we don't inconvenience
    4       them any farther.     Who will be arguing, Mr. Magidson?
    5                      MR. MAGIDSON:     I'm going to start out, Judge,
    6       and maybe one of the other counsel will have rebuttal
    7       afterwards.
    8                      THE COURT:    All right.      Come up to the
    9       podium.
   10                      MR. MAGIDSON:     Please the Court, this is
   11       defendants' motion for a new trial and or evidentiary
   12       hearing based upon the jurors use of outside and
   13       extraneous and material information that occurred during
   14       deliberations.     This information either caused actual
   15       prejudice to the defendants, or if such information was
   16       disclosed properly, it would have been a basis of removal
   17       of that juror for cause.
   18                 The Supreme Court has held in Duncan v Louisiana,
   19       that the right to a jury trial is fundamental to our
   20       system of justice, and along with that, the court held
   21       that a right to a jury trial presupposes an absolute right
   22       to a fair and impartial jury.       So that's what this issue
   23       is about.
   24                 As this Court knows very well, there's a great
   25       concern by the defendants and the government about the


                        15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20498   Page 7 of 40
                                                                              7



    1       jurors having opinions regarding street gangs in Detroit,
    2       particularly in light of a multi-part, sensational news
    3       article about this case that was published on the eve of
    4       trial.
    5                A questionnaire was prepared by both sides.           We
    6       spent a lot of time working out the questions for that
    7       questionnaire, with the idea that it was going to be
    8       reviewed by the parties, and prior to the actual selection
    9       in many cases, we determined based on answer that were
   10       given, many jurors were excluded.        They had given opinions
   11       and stated things on the questionnaire that showed bias,
   12       and we stipulated to certain jurors being removed, and in
   13       some cases the Court on its own saw certain things in the
   14       questionnaire, and excluded jurors.          So the questionnaire
   15       was in effect a court order, and required honesty and
   16       sincerity.
   17                The Sixth Circuit Court of Appeals in English
   18       versus Burgess discusses the consequences when a juror
   19       fails to disclose material facts.
   20                There, a juror in a CSC, criminal sexual conduct
   21       case, failed to disclose that she had been sexually
   22       assaulted when she was a child.       There, like here, the
   23       Court asked the juror whether she had any experiences that
   24       is might affect her being an impartial juror, but she
   25       never disclosed that she was a victim of a sexual assault


                        15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20499   Page 8 of 40
                                                                               8



    1       as a child.
    2                The circuit court reversed the lower court
    3       granting a habeas petition, and ordered the case remanded
    4       to state court because the admission was material, and
    5       bias could be inferred because it was deliberate.            The
    6       same occurred here.
    7                In this case, a juror -- and we called her Juror
    8       F -- reached out to defense counsel following the trial,
    9       and disclosed that another juror -- we called her Juror
   10       V -- had been dishonest in the jury selection process.
   11       She had strong, negative opinions about gangs, stated it
   12       was guys like this that were ruining the city, and ruining
   13       her neighborhood.
   14                Juror F stated that Juror V revealed that she
   15       lived adjacent to the Red Zone, and used these extraneous
   16       facts to unduly influence the jury.
   17                Juror V commented that she was familiar with what
   18       these types of guys did, unlike the suburban jurors who
   19       did not know what was going on in the Detroit
   20       neighborhood.
   21                Now during the voir dire process, this Court
   22       reminded all the jurors about the news coverage, and
   23       whether anyone had been exposed to such coverage, and as
   24       the Court recalls, there were jurors excused from the
   25       panel who had either read the article or had knowledge of


                        15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20500   Page 9 of 40
                                                                              9



    1       the article or -- and who had opinions about gangs and
    2       gang activities, and Juror V was present during that time,
    3       and she remained silent.      And the Court specifically
    4       addressed her and asked whether she had heard all the
    5       questions to the other jurors, and if there was anything,
    6       quote, you want to bring to our attention?          That was your
    7       language.    No, she answered.
    8                The Court asked her directly, anything about the
    9       nature of the case that raises concerns for you?            No.
   10                And the questionnaire is equally dishonest and
   11       deceitful.    The questionnaire asked if you ever had a
   12       dispute with a gang member, and if she had any experience
   13       with a gang, or any opinions or views as to why she could
   14       not be objective, Questions 42 and 43.         She answered no.
   15                She answered no to having any opinion about rap
   16       music, no anything about vulgar language, no about not
   17       being -- about being objective about drug distribution, no
   18       opinion about guilt or innocence.        Question 50.
   19                Based upon Juror F's affidavit, it's clear that
   20       Juror V had lied and used this extraneous information,
   21       information obtained outside the courtroom, outside the
   22       evidence presented to unduly bully the other jurors.
   23                Now based upon the affidavits of Juror F -- and I
   24       should add parenthetically that following Juror F
   25       contacting, another juror came forward as well.             We call


                        15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20501   Page 10 of
                                      40
                                                                           10



   1       him -- or this juror, Juror L.
   2                 Based upon these affidavits, there were a number
   3       of instances where Juror V used or could have used
   4       extraneous information that was used in the deliberations,
   5       including she lived in the Red Zone or adjacent to the Red
   6       Zone.   She had witnessed evidence of Seven Mile Bloods
   7       activity in and around her neighborhood, including gang
   8       graffiti.    She believed that people, quote, like
   9       defendants, had ruined the neighborhood and ruined the
  10       city.   She had opinions, they had to go down, they had to
  11       burn.   These were her words.
  12                 She also refused to decide the case based upon the
  13       evidence presented because, quote, these guys were here
  14       for a reason, unquote.      She used her personal knowledge of
  15       the neighborhood to try to force and intimidate her will.
  16                 Further, both Jurors F and L made reference to the
  17       fact that Juror V used outside knowledge that contradicted
  18       the location of a strip club, and grant it, there was only
  19       limited reference to where the strip club was, but the
  20       fact is that was one example that they could think of off
  21       the top of their heads, but there may have been others as
  22       well, but this is what they could think of.          This shows as
  23       an example that she was using that knowledge.
  24                 Further, according to the these affidavits, it
  25       appeared to Juror F that Juror V and another juror, Juror


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20502   Page 11 of
                                      40
                                                                           11



   1       C, had information about the case that was not part of the
   2       evidence, was not presented in the case at all.
   3                 Later, Juror F, after the case was over, read the
   4       Detroit News article that was referenced, and much of what
   5       Jurors V and C stated in the jury room about the case came
   6       in their opinion from that article, leading to her
   7       reasonably conclude that they had read that news article.
   8                 Finally, at one point in the deliberations, a
   9       marshal entered the room, as confirmed by both Jurors F
  10       and L, and told them they -- the marshal told them they
  11       could be heard outside, and basically keep it -- quiet
  12       down.
  13                 No one asked for the marshal, and it appears that
  14       the Court did not, or for the marshal to take any action.
  15       And while the jurors in their affidavits said, well, they
  16       didn't feel that affected by it, one of the jurors, Juror
  17       L, commented that another juror seemed quieter the next
  18       day.
  19                 So now the government asserts that Rule 606(b)(1)
  20       precludes the Court from considering these affidavits, but
  21       602(b)(2) of the Federal Rules of Evidence provides an
  22       exception, and does permit jurors to present affidavits
  23       and testify as to whether one, there was extraneous,
  24       prejudicial information that was improperly brought to the
  25       jury's attention, and or second, an outside influence was


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20503   Page 12 of
                                      40
                                                                           12



   1       improperly brought to bear on any juror, and we agree
   2       that's the law, but we assert that these affidavits show
   3       that there were outside influences brought mostly by Juror
   4       V.
   5                 The fact is that -- the fact that there was a
   6       disagreement or hostility in the jury room is of no
   7       relevance.    That's just way it is.      It's part of the
   8       deliberations.
   9                 There's a quote, laws are like sausages.           It's
  10       better not see them made.       So goes with jury
  11       deliberations, better not to see how it is done, because
  12       there's, you know, fighting amongst themselves,
  13       disagreements, and so forth.       But here, there's more than
  14       arguments and name calling.       There were outside influences
  15       and extraneous information that informed the jury during
  16       deliberations, and that's the heart of this motion.
  17                 There's no doubt, according to the affidavits,
  18       that a marshal came in the jury room and spoke to the
  19       jury.   There's a strong inference that one or more of the
  20       jurors read the Detroit News article.         This is information
  21       that was outside the evidence, outside the influence.
  22                 Juror V did not disclose that she had lived
  23       adjacent to the area, did not disclose that she was aware
  24       of the Bloods, aware of the graffiti.         These are things
  25       that would have been excused for cause had this been


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20504   Page 13 of
                                      40
                                                                           13



   1       known.
   2                 She did not disclose that she had personal
   3       knowledge about how the gangs ruined the neighborhoods,
   4       and that she felt that they were ruining the city, and
   5       this kind of dovetail into the government's first
   6       witness -- I forgot his name -- Mr. Jones, who testified
   7       that his neighborhood had been ruined by these guys.             So
   8       it sort of like corroborated the government's witness.
   9                 Now some of the allegations might be boarder line,
  10       things that I've raised here.       Some are in dispute.       Some
  11       I think are clear.      So I believe that the Court needs to
  12       err on the side of caution, and in this case the side of
  13       caution is to make sure that these defendants were
  14       provided a fair and impartial jury during this trial.
  15                 The relief that the court of appeals recently
  16       ordered in Ewing versus Horton was remanded for a Remmer
  17       hearing because without a hearing, how can we be sure, and
  18       that's all at this point that's being sought.
  19                 The government wants to sweep these issues under
  20       the rug.    Let's -- what's done is done, but all the
  21       defense wants is to shed light as to what occurred.            If
  22       the hearing showed nothing occurred, what's the harm?             We
  23       lost a few hours.     We spent a few extra hours, but I
  24       submit these gentlemen's life and their future is worth a
  25       few more hours of our time.       Thank you.


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19    PageID.20505   Page 14 of
                                      40
                                                                            14



   1                      THE COURT:    Okay.    Thank you.
   2                 Mr. Daly, you indicated an intention to add to the
   3       argument?
   4                      MR. DALY:    I will wait for the government to
   5       see if there's something that they say that needs to be
   6       rebutted.
   7                      THE COURT:    All right.       Mr. Scharg?
   8                      MR. S. SCHARG:     Yes, your Honor.
   9                 On behalf of Mr. Porter, I would like to
  10       incorporate what Mr. Magidson said on behalf of Mr. Shy,
  11       but I think it is crucial that a Remmer hearing be held in
  12       this matter, otherwise our clients are being deprived of
  13       their right to a fair trial under the Constitution and due
  14       process.    And once we found out -- once we were alerted
  15       about the jurors' issues they were having, it's our
  16       position that a Remmer hearing should have been conducted
  17       immediately, and each one of the jurors being questioned
  18       independently to inquire whether or not there were any
  19       biases or prejudices due to our clients.
  20                 Your Honor, as Mr. Magidson said, I think it is
  21       crucial to our clients since they are facing life
  22       imprisonment, and not only for that reason, but for any
  23       other reason that they need a fair trial, your Honor, and
  24       due to the fact that we know what we know now from the
  25       jurors that were interviewed by our investigator, it is


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19    PageID.20506   Page 15 of
                                      40
                                                                            15



   1       crucial that these individuals be interviewed
   2       independently by this Court, and allow us the opportunity
   3       to question them, and make sure that -- in my case Mr.
   4       Porter -- was treated fairly, and had a fair trial in this
   5       matter.    Thank you.
   6                      THE COURT:    Thank you.
   7                 Mr. Feinberg, we're still waiting on your client.
   8       It is now 2:30, and we haven't seen him, but again, if you
   9       want to offer comments now, you may.
  10                      MR. FEINBERG:     I'll adopt what Mr. Magidson
  11       and Mr. Scharg said.
  12                      THE COURT:    All right.       I'm still
  13       anticipating giving you the opportunity to speak more if
  14       you wish.
  15                      MR. FEINBERG:     I understand.
  16                      THE MARSHAL:     Mr. Bilkovic?
  17                      MR. BILKOVIC:     Where do I begin?        I know the
  18       Court knows it, because both sides have been clear in
  19       their briefs, but I want to read it in the record.
  20       Federal Rules of Evidence 6O6(b), during an inquiring into
  21       the validity of a verdict or indictment.
  22                 During an inquiring into the validity of a verdict
  23       or indictment, a juror may not testify about any statement
  24       made or incident that occurred during the jury's
  25       deliberations the effect of anything on that juror or


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20507   Page 16 of
                                      40
                                                                           16



   1       another juror's vote or any juror's mental processes
   2       concerning the verdict or indictment.         The Court may not
   3       receive a juror's affidavit or evidence of a juror's
   4       statement on these matters.
   5                 Two exceptions that potentially the defense argues
   6       here, one, a juror may testify about whether extraneous,
   7       prejudicial information was improperly brought to the
   8       jury's attention, or an outside influence was improperly
   9       brought to bear on any juror.
  10                 Contrary to what Mr. Magidson suggested -- and
  11       although as we cite in our briefs -- sometimes courts are
  12       tempted to order hearings even when they are not required.
  13       This is that case.      It's not good enough for them to say
  14       for everybody to feel better about this, even though the
  15       law doesn't require it, let's hold a hearing.          That's not
  16       what the law is.     The law is very, very clear.
  17                 Mr. Scharg mentioned that this should have been
  18       brought to the Court's attention immediately.          They didn't
  19       bring to the Court's attention immediately.          They had the
  20       juror's affidavit December 15, 2018.          They waited two
  21       months after that to file this motion.
  22                 So despite their claim they wanted this done
  23       expeditiously, and this should have been addressed
  24       immediately, the actions in this case of defense counsel
  25       don't bear that out.


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20508   Page 17 of
                                      40
                                                                           17



   1                 I'm going to start not in the order of how my
   2       brief is outlined.      I'm going to start in reverse to
   3       demonstrate why this Court and other courts are warned not
   4       to interfere with jury verdicts months or years later, and
   5       more importantly, why courts cannot use juror affidavits
   6       to do that.
   7                 Both of the these jurors in their affidavits,
   8       different ways, indicated when they were hung, they sent a
   9       note indicating that they were hung.          They were brought
  10       into the court, and this Court, you, Judge Steeh, told
  11       them that they had to reach a verdict of guilty or not
  12       guilty.
  13                 Exhibit B from Juror L, when we were brought back
  14       into the courtroom, we were told we had to go back to
  15       deliberate and reach an unanimous verdict, either guilty
  16       or not guilty.
  17                 Absolutely incorrect.     I'm not going to go through
  18       what the Court instructed them, but we know, because we
  19       all have the transcript, and the Court in its instructions
  20       made it very clear that the jury did not have to return a
  21       verdict of guilty or not guilty, and the Court instructed
  22       the jury that in the end, your vote must be your own.             It
  23       is important for you to reach unanimous verdict, but only
  24       if you can do so honestly and in good conscience.
  25                 Those these two jurors now coming forward, and


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20509   Page 18 of
                                      40
                                                                           18



   1       according to defense have these great claims that there
   2       were improper things that went on in jury deliberations,
   3       show with their affidavits why courts don't entertain
   4       this.   They were both absolutely wrong about what this
   5       Court instructed the jury when the jury was hung.
   6                 So let's go to another example.        The defense has
   7       had access to these jurors, at least Juror F since
   8       December of 2015.     The case that defense counsel cites and
   9       attaches to the brief, lays out an affidavit that did
  10       contain extrinsic evidence.       It talked about how jurors
  11       got on the internet, and they brought in Facebook pages,
  12       and they discussed the specifics about outside influences,
  13       and what happened based on additional research.
  14                 The defense didn't do that in this case.           They had
  15       months to do it.     They offer up that Juror V knew where
  16       the 0O7 strip club was, a fact that totally, totally,
  17       totally insignificant at trial.
  18                 But what didn't the defense do?        In December, in
  19       January when the affidavit was notarized, in February when
  20       they filed their motion, in March after getting our motion
  21       and seeing the issues we were raising, what didn't they
  22       do?   To this point they have not let you know what fact it
  23       is or facts that Juror F claims were outside influences
  24       that were contained in the Detroit News article that were
  25       not admitted at trial, and I submit to the Court there's


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20510   Page 19 of
                                      40
                                                                           19



   1       one of two reasons for that:       One, Juror F was wrong, just
   2       like she was wrong about what you instructed her, and that
   3       the fact that she thought was in the Detroit News article
   4       and not mentioned at trial was brought up at trial, or
   5       number two, that fact that she is aware of is so
   6       insignificant that they chose not to put it in their
   7       motion, and not to put it in the affidavit because it
   8       would have no bearing on this Court's decision.
   9                 I asking to you use your common sense, your Honor.
  10       You have four defense lawyers --
  11                      THE COURT:    Let me interrupt you for just a
  12       minute.
  13                 We do have Mr. Brown now with us.
  14                      DEFENDANT BROWN:      How you doing, sir?
  15                      THE COURT:    Very fine.
  16                      DEFENDANT BROWN:      How is everyone in the
  17       courtroom doing?
  18                      THE COURT:    Okay.    Mr. Feinberg, are you all
  19       set?
  20                      MR. FEINBERG:     Yes, your Honor.
  21                      THE COURT:    You may continue.
  22                      MR. BILKOVIC:     So the same defense attorneys
  23       that filed a motion, join a motion, claimed that there was
  24       outside influence because this juror knew the location of
  25       the 007 strip club.      When they get this information from


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19    PageID.20511   Page 20 of
                                      40
                                                                            20



   1       the same juror, and she tells them, Juror V talked about
   2       facts.    I didn't remember hearing those facts at trial.             I
   3       then read the Detroit News article, and then I realized
   4       that's where she got those facts.        They want you to
   5       believe that not one of them asked her, what fact?             What
   6       did you hear?     Did you hear about Corey Bailey having been
   7       charged with the Calloway murder?        What did you hear?        For
   8       some reason that is not in here, and what is not in this
   9       affidavit is just as important, if not more important,
  10       than what is in the affidavit.
  11                 So let's move onto extrinsic evidence.          Extrinsic
  12       evidence is not a juror using their own personal
  13       knowledge.    Every one of these defense lawyers knew that
  14       this juror, Juror V lived in Detroit for 51 years.             They
  15       knew that her brother-in-law was retired from the Detroit
  16       Police Department.      They knew that her son was currently
  17       working for the Detroit Police Department.           They knew
  18       their brother was murdered in 1991.           They knew that she
  19       had a cousin killed in 2017.       Knowing all of this, it
  20       should not come as a surprise to anybody that this juror
  21       is aware of gang activity.
  22                 One of the things that we cite in our brief was
  23       the Warger case that talks about voir dire, one of the
  24       principal cornerstones in weeding out bias.
  25                 The six attorneys -- I believe it was six -- at


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20512   Page 21 of
                                      40
                                                                           21



   1       least five that was present when this juror was seated in
   2       the box, did not ask her one single question.          Not one.
   3       The fact that a juror lives in Detroit, and as a result of
   4       that, 51 years old, relatives that are in the police
   5       department, the fact that that juror is aware of what --
   6       of gang activity, the fact that she is aware of graffiti,
   7       the fact that she lived allegedly in the Red Zone, that's
   8       not what the courts are talking about when the talk about
   9       extrinsic evidence.
  10                 I identified multiple cases, and the courts says
  11       sometimes defense lawyers leaves jurors like that on there
  12       because they can do exactly what they are now complaining
  13       about.    They can educate other jurors about things that
  14       those other jurors might not know about.          Courts are
  15       clear, there's nothing wrong with that.          There's nothing
  16       wrong -- one of the cases that I cited to the Court -- an
  17       emergency room doctor that talked to the other jurors
  18       about evidence relating to somebody getting shot and what
  19       would have happened to blood flow when that happened in
  20       their experience.     They knew that was an issue, and they
  21       left that person on.      There's nothing wrong with that.           So
  22       there is no extrinsic evidence that requires a hearing in
  23       this case.
  24                 You talk about the marshal knocking on the door
  25       and going in, and telling them to quiet down.          Case law is


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20513   Page 22 of
                                      40
                                                                           22



   1       clear, neutral intrusion, that's not anything that results
   2       in prejudice.     And one of the things that I would like to
   3       know -- because it would add to the argument that I would
   4       make, but despite requests, we have not been given
   5       information as to who these jurors are -- Juror F's
   6       affidavit says, it didn't bother her.         Juror L, in his
   7       affidavit, says it didn't bother him, and Paragraph 9 he
   8       does indicate there's another juror who was called, and I
   9       don't know who that is.      But if that's a Juror F, again
  10       Juror L is wrong, because if it is Juror F, Juror F said
  11       that she was not bothered by that.
  12                 There's been no allegation that if that entrance
  13       did happen, that anything was said that affected anybody,
  14       anything was said by the marshal to hurry deliberations
  15       along where the Court could look at that intrusion that
  16       might have affected the jury verdict.
  17                 If you look carefully at the jury questionnaire,
  18       the jury questionnaire -- and if you look carefully at the
  19       motion, things that defense counsel is complaining about
  20       that warrants them a new trial -- that she showed bias
  21       against gang members, and as Mr. Magidson put in his
  22       motion, and said in court today, that Juror F said, quote,
  23       they must burn.     Juror V said that they must burn.         That
  24       is nowhere in Juror F's affidavit.        Mr. Magidson said it
  25       here, and put it in his motion.        It is nowhere in the


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20514   Page 23 of
                                      40
                                                                           23



   1       affidavit, and I would submit to the Court that if based
   2       on the evidence that these jurors heard, that juror, any
   3       juror, felt defendants like these -- the evidence has
   4       shown defendants like these, yeah, these are the people
   5       that are doing this.      They are guilty of these crimes, and
   6       we're going to find them guilty -- there's nothing wrong
   7       with that.
   8                 Again, her reliance -- defense counsel indicates
   9       her reliance on facts are not in evidence.          There's no
  10       evidence of that in these allegations other than personal
  11       knowledge that she had growing up 51 years in Detroit that
  12       they didn't bother to ask her about for whatever reason.
  13       They chose not to ask her about those questions.
  14                 So basically what they want to do is have a
  15       hearing to do the things that if they had a valid claim
  16       already would have been done, submit an affidavit from
  17       these jurors that was complete and lays out specific facts
  18       that were not evidence at trial, that would be prejudicial
  19       if other jurors knew about them.        Facts from this Detroit
  20       News article, instead of mentioning that she knew where
  21       the OO7 strip club was.
  22                 So if I'm on a jury, and I live in Ann Arbor, and
  23       somebody says that Spots Wings is on such a location, and
  24       I say no, it's not.      It's somewhere else, that's improper?
  25       That's not improper.      Juror are allowed to use that


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19    PageID.20515   Page 24 of
                                      40
                                                                            24



   1       experience.
   2                 So based on all the law that you have in this
   3       case, based on the very clear direction from the Court of
   4       Appeals, from the United States Supreme Court, there is no
   5       evidence of extrinsic influences or other influences that
   6       these affidavits have borne out that you can even look at,
   7       because you have to start there.        What in these
   8       affidavits, if anything, am I allowed to look at, and the
   9       courts and the rule of evidence makes it very clear, very,
  10       very limited information, and that limited information is
  11       not what these affidavits go to, and as a result, I'm
  12       asking the Court to deny the defendants' second motion
  13       fork a new trial.
  14                      THE COURT:    All right.       Thank you, Mr.
  15       Bilkovic.    Mr. Daly?
  16                      MR. DALY:    Thank you, Judge.
  17                 I want to address my arguments in two ways; the
  18       first is a response to what the government has said, and
  19       then I want to spend a little bit of time emphasizing why
  20       we should have a evidentiary hearing, why that is
  21       essential in this particular case.
  22                 So the government correctly read the rule, and we
  23       know what the rule says.       It's no secret that the defense
  24       is looking at the two exceptions that were read into the
  25       record about extraneous information or influence that was


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20516   Page 25 of
                                      40
                                                                           25



   1       brought to the jury's attention.
   2                 So I got the feeling that when the government was
   3       talking that there wasn't any law to support what we were
   4       saying, that's not correct.       So the law is there in the
   5       form of the rule, and in the form of Sixth Circuit cases
   6       that we cited.
   7                 One of the government's complaints is that we
   8       waited too long.     Well, in this case there was a
   9       semi-anonymous jury.      We didn't know who the jurors were.
  10       We couldn't reach out and touch them or contact them.             We
  11       had to wait until they contacted us.
  12                 The time of the delay really is minimal.           It's a
  13       few months.    The verdict came in at the end of August.             In
  14       the fall, late fall, early winter is when the one juror
  15       called me, and was clearly upset about what had happened,
  16       and some of the words that she used and that are in the
  17       affidavit is that she described the deliberations as
  18       misleading, disturbing, things of that nature.           So she was
  19       volunteering that information to us, and then it was put
  20       into the form of an affidavit.
  21                 So that government complaint about the delay is
  22       really falls on deaf ears because one, it was not very
  23       long, and two, we had to rely on the jurors to come
  24       forward in order to speak with us.        So that's not really
  25       important consideration for you at all.


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20517   Page 26 of
                                      40
                                                                           26



   1                 I think the government is correct when they go
   2       back to the affidavits, and they sort of sort through the
   3       difference between what would fall into the exceptions,
   4       and what falls into the first category which would be not
   5       be a sufficient basis for a new trial.
   6                 For example, they correctly point out that their
   7       interpretation of your instruction after they indicated
   8       that they were hung, made them believe that there were
   9       only two possible verdicts, guilty or not guilty, that
  10       there was no such thing of a hung jury.          That could not be
  11       the basis of a new trial.
  12                 What we did though, we didn't want to parse out
  13       all the information that they were giving us.          We wanted
  14       to put it all there to make as complete record as we could
  15       with the affidavits.      So there are certain things in there
  16       that would not qualify for a new trial.          I think it's
  17       obvious.    It's not difficult to sort through and figure
  18       out what is what.
  19                 The news articles which came out shortly before
  20       trial, if it was a passing article, like on the back page
  21       of the News, and it was like a few paragraphs, the
  22       government may have a position.        This was I believe -- and
  23       I don't remember at this point -- an eight part expose.
  24       It was very extensive.      It had a lot of information in it.
  25                 That document, that news article, we will submit


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20518   Page 27 of
                                      40
                                                                           27



   1       to you and to the government -- they've seen it, we've all
   2       seen it, the defendants have it, and we will attach that
   3       as a supplemental exhibit for you to see -- once you read
   4       it, you will see that there is, in fact, a lot of
   5       information in there that was not disclosed during the
   6       trial.
   7                 I don't remember everything in it, but one of my
   8       guesses is that they made have had information about
   9       another homicide that Mr. Bailey was allegedly involved
  10       in, and the government decided not to introduce it.            So
  11       that would be something that we would be looking for, but
  12       we can that for you with the Court's permission to point
  13       out why this news article was so devastating.
  14                 And the other thing that is extraneous that Mr.
  15       Magidson pointed out is the fact that this juror, Juror V
  16       lived near -- just east of Gratiot, real close to the Red
  17       Zone that was identified as the area that the Seven Mile
  18       Bloods operated in.
  19                 Now the government's position I find somewhat
  20       speculative to say the least that if you lived in Detroit,
  21       number one, you know about gangs, and number two, you have
  22       a particular feeling about it.        The difference is -- and
  23       this is just common sense -- the closer you are to the
  24       activity, the more response you are going to have to it.
  25       If you're close to the Red Zone, and you're seeing


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19    PageID.20519   Page 28 of
                                      40
                                                                            28



   1       tagging, and you can see if driving with your own eyes
   2       down Gratiot, what's going on, or you hear because you're
   3       in the neighborhood.      That's a big difference than living
   4       in the high rise on the river, and you never have contact
   5       in the neighborhood.
   6                 So there's lots of people that live in Detroit
   7       that don't have contact with gangs, and don't even know
   8       that there are gangs on the east side, gangs on the south
   9       side in different areas of Detroit.           They just don't know
  10       it.   When you say it, they say, I didn't know there were
  11       gangs in Detroit.     We thought that was out in Los Angeles
  12       or something.     So that argument doesn't carry much weight
  13       either.
  14                 The other thing that the government tried to do,
  15       they tried to shift on to us what they are claiming is our
  16       failure to interrogate this juror.        On its face, it looks
  17       like it would have some validity, except you've got to
  18       look at it in the context of what happened.
  19                 This juror came onto the panel at the end.           Now
  20       she sat there and listened to all of the questions being
  21       asked by the lawyers to other jurors and you, and what you
  22       said to this juror was, is there anything that you heard
  23       by any questions by all of the other lawyers and by myself
  24       that you need to respond to, and bring to our attention,
  25       and we do that because it's a waste of time for us to go


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20520   Page 29 of
                                      40
                                                                           29



   1       back and ask each juror that gets up in the box all of
   2       those questions.      We rely on the jurors to listen.        In
   3       fact, I believe you probably told them to listen to all of
   4       the questions.
   5                 So what we are doing, we're relying on the jurors
   6       to bring to our attention information that they know they
   7       should disclose.      We are relying on them to be honest to
   8       come forward by asking the general question, is there
   9       something we need to know.
  10                 She knew.    She should have told us that she lived
  11       near there.    She knew that she should have told us that
  12       she had particular feelings about gangs.          She knew that
  13       she should have told us that she was going to conclude
  14       that those gang members were here for a reason, all of
  15       those things that violates our client's right to be
  16       presume innocent for example.
  17                 Those are things that we had to rely on her to
  18       bring to our attention, and she didn't, and that's what
  19       makes this a particularly meritorious issue, not because
  20       we didn't do our job, but because she didn't come forward
  21       with that information.
  22                 The other thing that I want to talk about is why
  23       we need an evidentiary hearing.        The government is correct
  24       we cannot win this motion on the affidavits.          We just
  25       can't.    An evidentiary hearing is essential for us to make


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19    PageID.20521   Page 30 of
                                      40
                                                                            30



   1       out our case.     An evidentiary hearing is essential to the
   2       government so that they can quit complaining about not
   3       having an opportunity to speak to the jurors and find out
   4       exactly what happened; so they can question the jurors in
   5       open court.    It would be helpful to them as much as to
   6       you.
   7                 But most importantly it is essential for you to
   8       hear the jurors.     You have to see them.        You have to look
   9       at them in the eye.      You have to make a credibility
  10       determination about whether or not they are being truthful
  11       and accurate in what they are saying, and you are the only
  12       one that can do it, and you can only do it through a
  13       hearing.
  14                 And so when the government says in general, or in
  15       the pleadings, we don't like to drag jurors in because
  16       it's a form of harassment, that's not this case at all,
  17       because the jurors voluntarily came to us.           We're not
  18       dragging them in here under circumstances that they don't
  19       want to be here.     In their affidavits they say explicitly,
  20       I'm prepared to come into court under oath and testify so
  21       they are willingly coming to court.           Now maybe Juror
  22       Number -- or Letter V maybe somewhat reluctant, but that's
  23       one juror.    One juror.    So that argument falls flat as
  24       well.
  25                 The other part about the evidentiary hearing


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20522   Page 31 of
                                      40
                                                                           31



   1       that's important is that when we filed our brief, and we
   2       talked about the evidentiary hearing in response to the
   3       government's position, they cited everything outside the
   4       Sixth Circuit, but the Sixth Circuit says is that when
   5       there is a prima facie case, the affidavits serve as the
   6       prima facie case.     The court has -- and the word they
   7       use -- is duty -- there's a duty or an obligation on
   8       behalf of court to investigate these types of allegations
   9       when we file the affidavits.
  10                 If we didn't file the affidavits, there wouldn't
  11       be a playable plain for us.       So that's the only purpose of
  12       the affidavit, isn't to be a final statement about what we
  13       expect.
  14                 But what you heard from the government basically
  15       is a factual dispute.      I mean, basically what they said to
  16       you is well, we don't agree with this, and we don't think
  17       you should infer from that, this, and defense says this,
  18       and we say that.     The purpose of the evidentiary hearing
  19       is for us to figure out what are the facts that we want to
  20       present to you in dispute, and let you decide.           Let you
  21       decide whether or not in this case the defendants were
  22       denied a right to fair trial through this jury, and
  23       there's more than sufficient and specific facts that we
  24       set forth, Judge, that would allow you to grant the
  25       hearing, and I do think under the circumstances, Judge,


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19    PageID.20523   Page 32 of
                                      40
                                                                            32



   1       you have an obligation.      I think you have an obligation to
   2       the system, to yourself, to the government, to the
   3       defendants to conduct a hearing.
   4                      THE COURT:    All right.       Thank you, Mr. Daly.
   5                 Mr. Feinberg?
   6                      MR. FEINBERG:     Yes, your Honor.
   7                 I guess for the record, I was mistaken when I
   8       thought I saw Mr. Brown in the court because when he came
   9       in, he told me he had just arrived.
  10                      THE COURT:    All right.
  11                      MR. FEINBERG:     I agree with Mr. Magidson and
  12       Mr. Daly with their arguments, but I think one of the real
  13       key issues is while we were able to get affidavits from
  14       Jurors F and L, we did not attempt to seek Juror V to find
  15       out whether or not the allegations that the other two
  16       jurors were alleging came from her, did come from her in
  17       order that find out her credibility to determine whether
  18       or not there were improprieties going on in the jury room
  19       about her telling the rest of the jurors her own -- her
  20       own feelings based on her growing up in the area.
  21                 Again, Mr. Daly indicated the reason she was not
  22       asked any questions, wasn't because there weren't any
  23       questions to ask her.      This Court indicated to her when
  24       she came on -- because they were all sitting in the
  25       courtroom while the voir dire it was going on -- whether


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19    PageID.20524   Page 33 of
                                      40
                                                                            33



   1       or not there was anything that she heard or knew that she
   2       is responsible to report to us?        She said no, meaning that
   3       without asking whether or not she lived in the close
   4       proximity of the Red Zone, she indicated no.           Whether or
   5       not she gained any information, or knew of any information
   6       about the gangs in that area that she was not suppose --
   7       or if she acknowledged, she would have been excused.              The
   8       fact that she didn't mention that indicated that she had
   9       no knowledge, but if she gave that knowledge to the jury
  10       during deliberation that we should have known that she was
  11       capable of knowing, she would not have been on the jury.
  12                 Again, I agree with Mr. Daly when he said the only
  13       way to really determine if there was really any
  14       impropriety is to have a evidentiary hearing.           The
  15       defendants are facing -- Mr. Brown is facing a lot of
  16       time, an enormous amount of time up to life imprisonment
  17       according to the probation officer.           To take another week,
  18       two weeks, even a month to make a final determination of
  19       whether or not there was any jury impropriety is no skin
  20       off the Court's nose or the government or the attorneys is
  21       enormously meaningful to the defendants, and I would
  22       concur that the Court should grant and conduct the
  23       evidentiary hearing.
  24                      THE COURT:    Okay.    Thank you.
  25                      MR. S. SCHARG:     May I add something?


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20525    Page 34 of
                                      40
                                                                            34



   1                      THE COURT:    Sure.
   2                      MR. S. SCHARG:     Your Honor, we know that this
   3       had to be so severe for, as Mr. Daly said, the jurors, we
   4       didn't go looking for them.       They contacted us.         So for
   5       them to contact us, we know the issues they were
   6       experiencing in the jury room had been to be pretty,
   7       pretty horrible for the jurors to have to feel that way in
   8       order to call the defense attorneys about the issues they
   9       were experiencing, because this issue doesn't happen all
  10       the time.    This is a very rare instance, and these jurors
  11       contacted us.     They explained to us, explained to Mr.
  12       Daly, the issues they were experiencing in the jury room,
  13       which affects these defendants and their right to be free,
  14       and have a fair trial in this matter.
  15                 We spent 10 weeks in trial at least, and longer
  16       that the case was going on, for quite a long time, almost
  17       two years, and what is two or three hours?          How can that
  18       two or three hours hurt to us have a hearing to see what
  19       occurred in the jury?      What is two or three hours when we
  20       spent two years and 10 weeks in trial?
  21                 And there's been testimony today by Mr. Magidson,
  22       Mr. Daly, as well as myself and Mr. Feinberg, and you have
  23       the government making their positions in this matter, and
  24       arguing about what these affidavits said and what they
  25       didn't say.    Well, let's bring the jurors back.            Let's get


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20526    Page 35 of
                                      40
                                                                            35



   1       the real version of what occurred.        Let the jurors explain
   2       to you why they contacted us, and what they were
   3       experiencing in that jury room, and to see whether or not
   4       these gentlemen actually had a fair trial or not.
   5                 So respectfully, we would ask you to consider an
   6       evidentiary hearing in this matter.
   7                      THE COURT:    Thank you, Mr. Scharg.          Anybody
   8       else on the defense side?       Mr. Bilkovic?
   9                      MR. BILKOVIC:     Thank you, your Honor.
  10                 Your Honor, Mr. Scharg says that this is an
  11       unusual situation.      This is not an unusual situation.          It
  12       happens all the time, which is why there is a court rule
  13       on it, by there is rules of evidence on it, and why there
  14       are thousands of cases on it that warn courts not to do
  15       this.
  16                 I'll touch on the timing briefly of these
  17       affidavits because I actually got something wrong.             Mr.
  18       Daly indicated that that's really not an issue.              I'm not
  19       the one that raised it.      Mr. Scharg did, but interestingly
  20       enough, the first juror they talked to -- and I apologize
  21       for getting this wrong earlier -- the first juror they
  22       talked to was Juror F.      It wasn't until after they talked
  23       to Juror F that they found out about another juror, and
  24       then they talked to that juror, Juror L.          Juror L's
  25       affidavit is dated December 15, 2018.         Juror F's affidavit


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20527   Page 36 of
                                      40
                                                                           36



   1       is dated January 15, 2019.       So the second juror that they
   2       talked to signed an affidavit December 15th, and we know
   3       that that juror was talked to after they talked to Juror
   4       F, which means they talked to Juror F before
   5       December 15th, and what do we still don't have after Mr.
   6       Daly getting up again, and Mr. Scharg getting up, and Mr.
   7       Feinberg getting up?      They still will not tell you, and
   8       have not told you what fact did this juror say that Juror
   9       V brought up that she believes was from the Detroit News
  10       article.
  11                 This is their opportunity to do it.        They have to
  12       convince you that there is extrinsic evidence that
  13       requires a hearing.      They just can't say there's extrinsic
  14       evidence, but we're not going to tell you.          They have to
  15       tell you because you have to make a determination as to
  16       whether it's evidence that could prejudice a jury, and the
  17       fact that they told you about the OO7 strip club not in
  18       one, but both affidavits and refuse to tell you what this
  19       fact is that was allegedly contained in the Detroit News
  20       article should be glaring to this Court.
  21                 They want to go on a fishing expedition.           They
  22       want to bring these two jurors in, and hope that it will
  23       prompt you to then harass Juror V, and bring her in.
  24                 Mr. Daly said the government doesn't want you to
  25       harass the jurors.      I don't want -- the government, that's


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20528   Page 37 of
                                      40
                                                                           37



   1       not our position.     That is the United States Supreme
   2       Court's position.     Those are the Court of Appeals opinions
   3       and their positions that this court should not engage in
   4       that type of behavior.
   5                 They have had since at least December 15th to
   6       follow up with this juror and say, you know what?            There
   7       was this prejudicial article that appeared in the Detroit
   8       News, a six piece article.       You made an allegation that
   9       you read that article, and that there was something in
  10       there that was discussed during trial.          We need to know
  11       what that is.     That was not done, and this Court needs to
  12       ask why, and again, the answer is obviously.          It's either
  13       insignificant, or it simply didn't happen.
  14                 She was wrong, just like she was wrong about what
  15       this Court instructed, and Mr. Daly conceded that what the
  16       jurors thought you had told them is not the basis of a new
  17       trial, but again, the reason why courts don't allow this
  18       is Juror Affidavit L doesn't say that's what he thought
  19       you said.    He said we were told we had to go back to
  20       deliberate and reach an unanimous verdict, either guilty
  21       or not guilty, and we all left with the impression that
  22       saying hung is not an option, but he puts in his affidavit
  23       that we were told by you, Judge Steeh, we had to go back
  24       and find them guilty or not guilty.
  25                 When it comes to the personal knowledge, again of


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20529   Page 38 of
                                      40
                                                                           38



   1       the juror, you don't look at this in a vacuum.           I'm sure
   2       there are jurors that have moved here from other cities,
   3       and live in million dollars high rises, or $500,000 high
   4       rises that have been here for a few months that may not
   5       understand the crime problem in the city of Detroit, and
   6       may not understand gangs, but this juror in her affidavit,
   7       Juror V, let the defense attorneys know that she's been in
   8       Detroit for 51 years, and oh, by the way, her
   9       brother-in-law retired from the Detroit Police Department,
  10       and oh, by the way, her son is currently a Detroit Police
  11       Officer.
  12                 They didn't ask one question in follow up to that,
  13       and the Court has to assume that there's a strategy reason
  14       they chose not to do that.       It's certainly in a jury
  15       selection that took three days, a trial that took 10
  16       weeks, the reason certainly is not because they didn't
  17       want to waste the jury's time ask additional questions.              I
  18       mean, this trial lasted 10 weeks instead of because five
  19       weeks because of how many times the same question was
  20       asked.
  21                 I would have to go back and look at it, but I
  22       would venture to guess that that juror was the only juror
  23       that was impaneled on this jury that not one of the
  24       defense lawyers asked one question to.          So for whatever
  25       reason they had for not doing that, that doesn't give them


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19    PageID.20530   Page 39 of
                                      40
                                                                            39



   1       a license to come in now and say, you know what?              She bias
   2       against gangs, and lived near the Red Zone, so that
   3       entitles us to a hearing and potentially a new trial.
   4                 I would also submit, I don't believe I mentioned
   5       it in our brief, but in the Warger case, the court
   6       specifically held that Rule 6O6(b) precludes a party
   7       seeking a new trial from using a juror's affidavit of what
   8       another juror said in deliberations to demonstrate other
   9       juror's dishonesty during voir dire.          That the United
  10       States Supreme Court opinion.
  11                 So again, we come back to basically what this is
  12       about is, Judge Steeh, months later, couple of the jurors
  13       were upset about some things that happened.           So we kind of
  14       want another hearing because we want another shot at this.
  15       The law doesn't allow that.           You shouldn't grant it.
  16                 Thank you.
  17                      THE COURT:       All right.    I appreciate the
  18       presentations on both sides.          I'm assuming there are no
  19       other remarks.     The Court will take the matter under
  20       advisement, and issue a written opinion as soon as
  21       possible.    Thank you.
  22                      DEFENDANT BROWN:         Thank you, Judge Steeh.
  23                      THE COURT:       Okay.    You're welcome.
  24                          (Proceedings concluded.)
  25                                   -     -     -


                       15-20652; USA v. COREY BAILEY, ET AL
Case 2:15-cr-20652-GCS-DRG ECF No. 1547 filed 12/03/19   PageID.20531   Page 40 of
                                      40
                                                                           40



   1                         C E R T I F I C A T I O N
   2                  I, Ronald A. DiBartolomeo, official court
   3       reporter for the United States District Court, Eastern
   4       District of Michigan, Southern Division, appointed
   5       pursuant to the provisions of Title 28, United States
   6       Code, Section 753, do hereby certify that the foregoing is
   7       a correct transcript of the proceedings in the
   8       above-entitled cause on the date hereinbefore set forth.
   9                  I do further certify that the foregoing
  10       transcript has been prepared by me or under my direction.
  11
  12     s/Ronald A. DiBartolomeo                           _December 3, 2019
         Ronald A. DiBartolomeo, CSR                             Date
  13     Official Court Reporter
  14                                   -   -    -
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25


                       15-20652; USA v. COREY BAILEY, ET AL
